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                      IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    PNC Bank, National Association, successor in
    interest by merger to National City Bank, successor
    in interest by merger to MidAmerica Bank, FSB
                                        Plaintifl
                               vs.                               No.   13 cv 07271

 Randall Road Joint Venture, an Illinois general
 partnership; Chicago Title Land Trust Company,                  Property Address:
 successor trustee to Amcore Investment Group as                 124-136 S. Randall Road
 Trustee Under Trust Agreement Dated December 15,                Algonquin, Illinois 60102
 1993 and Known as Trust Number 3504; Jeffrey R.
 Dunham; Robert R. Dunham; Power Pizza Comparry                  Assigned Judge: Robert M. Dow, Jr.
 dh / a J ake' s P izza, an Illinois domestic corporation;       Magistrate Judge: Mary M. Rowland
 Phoenix Leasing Incorporated, a foreign corporation;


                                         Defendants.



                              ORDER APPOINTING RECEIVER

         THIS CAUSE was heard on the Petition for Appointment of Receiver filed by the Plaintiff,

PNC Bank, National Association, successor in interest by merger to National City Bank, successor

in interest by merger to MidAmerica Bank, FSB, ("Plaintiff' or the "Bank") pursuant to the Illinois

Mortgage Foreclosure Act,735ILCS 5/15-1101 et seg., seeking an order appointing Joshua E.

Joseph of Frontline Real Estate Partners,   LLC,   as   receiver for the nonresidential property located at

x   124-136 S. Randall Road, Algonquin, Illinois 60102. That property is the subject of         plaintifls
complaint in mortgage foreclosure. The court hasjurisdiction over the parties and subject matter and

is fully advised in the premises.




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                                       FINDINGS OF FACT

        1.      The plaintiff filed a complaint ("Complainf') seeking to foreclose a mortgage which

alleges that Randall Road Joint Venture defaulted on its obligations. A copy of the mortgage dated

August 31, 2006, is attached to        the complaint      and was recorded as document number

2006R0065598 withthe McHenry County Recorder ofDeeds, againstthe subjectpropertyidentified

above. The mortgage secures a promissory note dated August 31,2006 in the original principal

amount of $1,225,000.00. A true and correct copy of the Note is attached to the Complaint as

Exhibit "C".

        2.      The property consists of consists of a single story, masoruy constructed, commercial

retail store, and is owned by the Mortgagor for commercial/investment purposes and is not used by

Mortgagor as Mortgagor's personal residence.

        3.     The Complaint alleges that "Events of Default," as defined in the Mortgage and

Notes, occurred due to the Mortgagor's failure to pay the Note in full at maturity on August 3,2011.

Said Event of Default gives Plaintiff the right to accelerate all amounts due under the Note and

Mortgage and to demand the same be immediately payable.

       4.      The mortgage provides on page 9 that upon the occumence of an Event of Default,

the mortgagee shall have the right to make application for appointment of a receiver for the property.

       5.      The property does not fall within the definition of "Residential Real Estate" under the

Illinois Mortgage Foreclosure Law (735 ILCS 5115-1219).

       6.      The Mortgagor, Chicago Title Land Trust Company, successor trustee to Amcore

lnvestment Group as Trustee Under Trust Agreement Dated December 1 5, 1993 and Ifuown as Trust

Number 3504, has accepted service of a copy of the Complaint.


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         7   -     Based on the allegations of the Complaint, the terms and provisions ofthe Mortgage

and the Note secured thereby, and the motion to appoint a receiver, there is a reasonable       probability

that Plaintiff   will prevail on a final hearing in this matter. The Mortgagor   has not shown good cause

why the receiver should not be appointed.

        8.         The receiver, Joshua E. Joseph of Frontline Real Estate Partners, LLC, whose

biographical information is included as part of Plaintiffls motion, appears to be qualified to act as

receiver and to manage the Property as would a prudent person, taking into account the effect            of
receiver's management on the interest of the Mortgagor.

IT IS HEREBY ORDERED:

        1.        The receiver, Joshua E. Joseph of Frontline Real Estate Partners, LLC, whose

biographical information is included as part of Plaintiffs motion, appears to be qualified to act as

receiver and to manage the Property as would a prudent person, taking into account the effect            of
receiver's management on the interest of the Mortgagor.

        2.        Plaintiffs Petition for Appointment of a Receiver for the Property is granted and the

the above-named receiver is hereby appointed.

        3.        Until further notice of this Court, all persons or entities, including but not limited to

tenants in possession of the Property or any portion thereof; and any persons liable therefore, shall

pay to the Receiver all rents, income, or other amounts now due and unpaid and all rents, income,

or other amounts hereafter to become due on their respective tenancies and Mortgagor either directly

or through their agents, servants, representatives and attomeys, shall not, until further order of Court,

collect any rents or fees from or incident to the Property and shall not interfere in any manner with

the Property, the Receiver or the Receiver's management of the Property.


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          4.     The Receiver shall have immediate possession of the Property, which shall include

 all property secured by the Mortgage including both real and personal property, and shall have full

 power and authority to operate, manage and conserve such property. Without limiting the foregoing,

 the Receiver shall have the power and authority, immediately upon the entry of this Order, to:

                (a)      secure tenants and execute leases for the Property, the duration and terms   of
 which are reasonable and customary for the type of use involved, and such leases shall have the same

effect as if made by the Defendant;

                 (b)    collect the rents, issues, account receivables, insurance claim proceeds, real

estate tax refunds,   utility deposits, security deposits and profits from the Property from any time

period;

                 (c)    insure the Property against loss by fire or other casualty, which may include,

but not be limited to, the following coverage's, from any insurer or prospective insurer: property,

liability (and excess liability), auto liability, workers compensation, EPLI, employer liability,

employee dishonesty, business intemrption, boiler and machinery, builders risk, construction

bonding, environmental, terrorism, other bonding professional liability and errors and omissions;

employconstructionmanagers, general contractors, subcontractors, architects, engineers, consultants,

title companies, environmental consultants,    asset managers, property managers, leasing agents,

administrative support, attorneys, security companies, custodians, janitors, maintenance workers,

repairman/contractors, assistants, agents, accountants and other employees reasonably deemed

necessary, appropriate, or desirable to assist the Receiver in diligently executing the duties imposed

upon the Receiver by this Order including, but not limited to, the maintenance and operation of the

Property;


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                   (d)   pay ttxes which may have been or may be levied against the Property;

                   (e)   establish bank accounts, including having the right and power to (i) require said

bank to convert the account name on accounts maintained by Mortgagor to such name as requested

by the Receiver;   (ii) modiff the authorized signors on the account maintained by Mortgagor to those

persons requested by the Receiver;      (iii)   delete any signors to the account maintained by Mortgagor

as requested by the Receiver; and      (iv) ensure compliance with other similar requests made by the

Receiver, including but not limited to using the Mortgagor's TIN (FEIN or SSN) while naming the

account as a receivership account;

                   (D    receive all rents and proceeds from the Property (whether historical, current or

prospective), including, but not limited to, security deposits, rents, accounts receivable, insurance

claim proceeds, real estate tax refunds, utility deposits, security deposits, and earnest money deposits

presently in the possession of the Mortgagor and/or its agents;

                   (g)    make all repairs, declarations, renewals, replacements, alterations, additions,

betterments, and improvements in connection with the Property as may seem judicious to the

Receiver;

                   (h)    hire or retain any agents necessary or appropriate to do any ofthe duties listed

above without fuither approval of this Court, including, but not limited to, accountants, attorneys,

environmental consultants andpersonnel, brokers,propertymanagers, maintenancepersonnel, and./or

security personnel and specifically, the Receiver is authoized to retain Frontline Real Estate

Partners, LLC for the leasing services at the Property with the leasing commission structure to be

approved by the Court at such time as commercial leases are submitted for approval by the court;




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                 (i)   insure and reinsure the Receiver, his agents, and/or the mortgaged Property

against all risks incidental to the Receiver's possession, operation, and management thereof. The

Receiver may secure new insurance policies, if necessary and finance them;

                 0)    terminate or enter into vendor or other contracts pertaining to the Property as

Receiver may determine in its sole judgment are necessary, with no further obligation or liability

(including not having to pay any termination fees) under any terminated contract;

                (k)    procure or maintain utility services for the Property, to include but not be

limited to gas/steam, electric, water, sewer, trash, phone, cable, internet, and snow removal, without

suffering, regardless of the internal policies of any utility provider, the termination of such service

or refusal to authorize any new account based upon previous unpaid bills for services rendered prior

to the appointment of the Receiver or during the term of the Receiver, with any and all accounts to

be opened or transferred to the Receiver's name, but using the existing Mortgagor's account

information (including the tax identification number (TIN) of the Mortgagor). Further, the Receiver

is not responsible for any utility bills accruing prior to its appointment and the Receiver is not

personally responsible for any bills during the Receivership;

                (1)     take possession   of all cash or funds belonging to or for the benefit of

Defendants inbank accounts associatedwiththe Property ownedbyMortgagor(no matterfromwhat

time period), whether in the name of the Property, Mortgagor or its agents or employees, and to

open, transfer and change all such bank accounts into the name of the Receiver;

                (m)       The Receiver may market or engage a reputable brokerage company to

market the Property for sale and, subject to the approval of the Court, execute a sales contract and




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proceed with a sale of the Property (or any portion thereof), which sales price shall include

commission and marketing expenses incurred for the Property.

                 (n)      institute, prosecute, defend and/or settle such legal proceedings as the

Receiver deems necessary relating to the care or possession of the Property and to collect any such

sums which may be due from any source relating to use of the Property; and

                 (o)      take such other actions as may be reasonably necessary to conserve the

Property and other property subject to the mortgage, or as otherwise authorized by the Court.

        2.      The Receiver is authorized, without further leave of the Court, to defend or institute

and prosecute suits or summary proceedings related to the Property or the duties imposed upon the

Receiver by this Order, including but not limited to proceedings (a) for the collection of rents,

income, and other amounts (which include tenants who have vacated their space), (b) for the removal

of (i) any tenant or tenants in default (whether for failure to pay rent or other amounts when due, or

otherwise, including violation of the Property rules)      (ii) any tenant or tenants whose terms   have

expired and have not been renewed, or        (iii)    any other person(s) or entity(ies) unlawfully in

possession of the Property, or (c) otherwise related to the Property or the duties imposed upon the

Receiver by this Order. This Order shall act as notice to all tenants of the Property that the loan on

this property is in default and the Property is in the foreclosure process.

       3.      The Receiver shall manage the Property as would a prudent person, taking into

account the effect of the Receiver's management on the interest of the   Plaintiff   and Mortgagor. The

Receiver may, without an order of the court, delegate managerial functions to a person in the

business of managing real estate of the kind involved who is financially responsible and prudently




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 selected. To the extent the Receiver receives sufficient receipts from the Property, and except to the

 extent ordered otherwise by the Court, the Receiver:

                (a)     shall maintain the existing casualty and liability insurance required in

 accordance with the Mortgage or applicable to the Property atthe time the Receivertookpossession,

or shall find more cost-effective replacement insurance of comparable coverage with replacement

insurers, and, to that extent, existing insurers of the Property are hereby ordered to release claims

history on existing policies to Receiver;

                (b)     shall use reasonable efforts to maintain the Property in at least the same

condition as existed at the time the Receiver took possession, excepting reasonable wear and tear and

damage by any casualty;

                (c)     shall apply receipts to payment of ordinary operating expenses, including

utilities, rents and other expenses of management;

                (d)    may pay the amounts due under the Mortgage provided sufficient funds are

available after reasonable reserves;

                (e)    maymakeotherrepairsandimprovementsnecessarytocomplywithbuilding,

life-safety and other similar codes or with such other contractual obligations   as the   Receiver deems

affect the Property;

               (0      may hold receipts as reserves reasonably required for the foregoing purposes;

               (g)     may take such other actions as may be reasonably necessary to conserve the

Property, or as otherwise authorized by the Court, provided sufficient funds are available; and

               (h)     may also, with prior Court approval, pay any and all other outstanding

obligations to suppliers incurred in arm's length transactions who, prior to the entry of this Order,


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 supplied materials, business supplies and/or labor to or for the benefit of the Property, but only to

 the extent the Receiver shall determine, in his sole judgment, that it is prudent to do so in order to

 maintain the business relationships with such suppliers for the benefit of the Property, provided

 sufficient funds are available from the Property, and without, by so doing, making the Receiver liable

 for any other antecedent debts relating to the Property.

        4.       To the extent the Receiver decides to continue the services ofany current employees,

agents or other personnel with respect to the Property, neither the Receiver nor any person or entity

engaged by the Receiver hereunder shall be liable for any claims of any nature whatsoever of such

employees, agents, or other personnel that arose prior to the date and time of the entry ofthis Order,

which claims include, but are not limited to, unpaid but accrued wages, unpaid but accrued sick

time, unpaid but accrued vacation time, unpaid but accrued overtime and,lor any and all other

liabilities related to unemployment and/or worker's compensation claims.

        5.      The liability of the Receiver is and shall be limited to the assets of the receivership,

and neither the Receiver nor any person or entity engaged by the Receiver hereunder shall be

personally liable for any duly authorized actions properly and lavrfirlly taken pursuant to this Order.

        6.      Within five (5) calendar days of the entry of this Order, Mortgagorand/or its agents

and beneficiaries of the trust shall provide or make available to the Receiver the following, to the

extent such items and things exist:

               (a)     Copies of any and all service contracts pertaining to the Property;

               (b)     Copies ofany and all leases, lease abstracts, purchase agreements and the like

pertaining to the Property;

               (c)     All    open invoices for services or goods relating to the Property;


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                     (d)     A copy of the 2011 and20l2year-end financial statements and20l2          -   20T3

year-to-date operating and income statements including, to the extent reasonably practicable: balance

 sheet, income statement, accounts receivable (and receivables/arrearages aging), operating

statements, current year budget, sources and uses of cash flow, detailed rent roll, accounts payable,

check register, security deposit listing, trial balance, general ledger, contractor statements, lien

waivers, sworn owner statements, construction draws, bank reconciliations and bank statement;

                     (e)     A complete set of keys (including all masters) and all security andlor access

codes and,ior cards to the Property and a schedule (including         full contact information) identifi,ing

each person or entity (including security companies, municipal/governmental agencies and               utility

companies), who currently has one or more keys and/or access cards to the Property or who has

knowledge of any access codes thereto;

                     (D      In addition to the materials identified in subsection (e) above, upon request

of the Receiver, Mortgagor shall provide access to any other                records, documents    or      other

information, if any, that Mortgagor may have in its possession concerning the Property, including

without limitation: (i) any agreements to which the Property is or may be subject; (ii) any amounts

received from the tenants of the Property, from the time Mortgagor took ownership of the Property

to the date of entry of this Order; (iii) all liens or other encumbrances on the Property; (iv) properfy

taxes, assessments and related appeals; (v) insurance of all types for Mortgagor related to the

Property; (vi) all maintenance and service contracts; (vii) all invoices for services at the Property;

(viii) all tenant files, including   leases, lease abstracts, purchase agreements and sample leases    ofthe

Property; (ix)   a   current and accurate copy ofall electronic information for items related to accounting

includingtenantescalations/reconciliations fromthe time Mortgagortookownership ofthe Property


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to the date of entry ofthis Order; (x) a schedule of all capital expenditures put into the Property since

Mortgagor assumed ownership of the Property and any items of deferred maintenance and capital

currently required;     (xi) a full and complete rent roll           including but not limited to

schedules/information related to tenant security deposits, encumbrances, options, escalations, rents

and term; (xii) all current or the most recent copy of an ALTA survey, Phase             I and Phase II
environmental reports,traffrc studies, demographic studies, physical condition/engineering reports,

building and life-safety code violations, zoning code information related to the Property and

appraisal;   (xiii) all marketing information (in hard copy   and electronic format) including but not

limited to brochures, photographs (including aerial), maps, signage, and (xiv) all other aspects ofthe

Property records that are or may be necessary or pertinent to the Receiver's management,

maintenance, operation and/or sale of the Property.

                 (g)    Any and all insurance loss histories and/or claims on the Property;

                 (h)    Any and all other documents relating to the Property   as reasonably requested


by the Receiver; and

                 (i)    All property   and all other things of value associated with use, operation and

maintenance of the Property.

        7.       Mortgagor shall at all times after the entry of this Order provide full cooperation to

the Receiver for carrying out its duties hereunder, and timely respond to all reasonable requests made

by the Receiver. Mortgagor's obligation to use best efforts to provide or make available to the

Receiver the items and things identified herein shall be continuing.

       8.        So long as anypart   ofthe Propertyremains inthe Receiver'spossession, the Receiver

is directed to prepare and file with the Court, a full and complete report, under oath, setting forth


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receipts and disbursements and reporting acts and transactions regarding the execution of the trust

of its office as Receiver, including a current inventory of the funds, assets, and property remaining

in the receivership, interest in and claims against the same, and all debts and obligations contracted

and expenditures made, as directed by the    Court. The Receiver is further directed to serve copies

of each such report on the attorneys of record for Plaintiff, Mortgagor, and any other party who

submits a written request to the Court and the Receiver to be served with copies of such requests.

Any party having an objection to the Receiver's report shall file a written objection with the Court

no later than ten (10) business days after the date of the Receiver's filing of the report. Any

objection not filed within the time prescribed by this Order shall be deemed waived.

       9.        The Receiver may at any time file a motion requesting that         it   be exonerated,

discharged and released from all its appointments as Receiver.

        10.      The Receiver shall not have any responsibility for the preparation or   filing of any tax

return of any kind for Mortgagor but shall,     if   so asked by Mortgagor, provide Mortgagor with

information within Receiver's possession so that Mortgagor may prepare and file any such returns.

        I   l.   From and after the date hereof, neither Mortgagor nor anyone associated therewith

or acting under the Mortgagor's authority or control shall:

                 (a)    possess or manage the Property in any way;

                 (b)    collect, withdraw or transfer, in any way, funds or revenue derived from

operation of the Property;

                 (c)    remove or destroy any property from the Property;

                 (d)    terminate or cause to be terminated any license, permit, lease, contract or

agreement relating to the Property; or


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                 (e)    otherwise interfere with Receiver's possession or operation of the Property.

        12.      Receipts received from operation of the real estate by the Receiver shall be applied

in the following order of priority after payment of expenses associated with the Property:

                 (a)    to paymentandreimbursementofthe       Receiverforall fees, costs andexpenses

incurred by the Receiver or the Receiver's agents/delegates (including management fees/leasing

commissions/reimbursable/construction management fees) in connection with all Property related

expenses incurred by the Receiver;

                 (b)    to payment of authorized insurance premiums;

                 (c)    the balance, if any, shall be held or disbursed as ordered by the Court.

        I   3.   Mortgagor, its agents, and employees, shall turn over to the Receiver, within five (5)

business days from the date this Order is entered, all sums in its possession or control on the date

hereof that are related or pertain to, or are derived from the Properfy, including, but not limited to,

(a) all cash in hand, (b) all cash equivalents and negotiable instruments (such as checks, notes, drafts


or other related documents or instruments), and (c) all sums held in accounts in any financial

institutions, including, without limitation, (i) tenanVlessee security deposits, (ii) deposits held in

escrow for any pu4)ose, such as for payment of real estate taxes and insurance premiums, (iii)

proceeds of insurance maintained for, or pertaining to, the Property,     (iv) rent or prepaid rent, (v)

funds designated or intended for capital improvements, repairs, or renovations to, or in connection

with, the Property, and (vi) all other sums of any kind relating to the use, enjoyment, possession,

improvement, or occupancy of all or any portion of the Property.

        14.      The Receiver shall, uponthe entryofjudgmentinmortgage foreclosure, be authorized

to make and conduct a foreclosure sale upon the issuance of a writ of execution from Plaintiff and


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directed to Receiver, pursuant to 28 U.S.C. section 200l,et seq., and shall thereafter pass title to the

Property to the successful bidder.

        15.      The Receiver shall be authorized pursuant to this Order, at any time following the

date of entry of this Order, to execute and deliver, on behalf of the Mortgagor, and on terms and

conditions acceptable to Plaintifi any documents necessary to effectuate the assignment to aparty

or parties satisfactory to   Plaintiffthe obligations ofMortgagor   as evidenced by the mortgage,   related

notes and other related loan documents (collectively, the "Loan Documents") and the assumption

thereof by said party, and this Order shall operate as a power of attomey in favor of Receiver in

connection therewith.

        16.     The Receiver shall be compensated for his services hereunder consistent with the

following: (i) a one-time setup and implementation fee equal to $ 1,500.00 and (ii) a monthly flat fee

equal to $2,000.00.

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